Case 3:19-mc-03859-ECM Document 2 Filed 02/27/19 Page 1 of 2

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IN THE DISTRICT COURT OF THE UNITED STATES
FOR THE MIDDLE DISTRICT OF ALABAMA

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, }
v. MISC NO. 3:9-,-3%59-€OM

U-Save Car and Truck Rental, |
Auburn, AL, )
Garnishee,
Martin, Stokes,
Defendant.

WRIT OF GARNISHMENT
GREETINGS TO: U-Save Car and Truck Rental
1203 Opelika Road
Auburn, AL 36830
An Application for a Writ of Garnishment against the property of Martin Stokes,
defendant, has been filed with this Court. A Judgment has been entered against the above-named
defendant in the amount of $185,800.00, plus costs and interest. The balance due on the
Judgment as of February 25, 2019 is $156,508.85, with interest accruing at the rate of 0 percent
per arinum until paid in full. |
You are required by law to answer in writing, under oath, within ten (10) days, whether or
not you have in your custody, control or possession of any property owned by the debtor, including
non-exempt, disposal earnings.
Please state whether-or-not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.
Case 3:19-mc-03859-ECM Document 2 Filed 02/27/19 Page 2 of 2

You must file the original written Answer to this Writ within ten (10) days of your
receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,
Middle District of Alabama, One Church Street, Suite B-110, Montgomery, Alabama 36104.
Additionally, you are required by law to serve a copy of your Answer upon the debtor at:
1269 North College Street, Auburn, Alabama, 36830 and upon the United States Attorney,
Post Office Box 197, Montgomery, Alabama 36101.

Under the law, there is property, which is exempt ftom this Writ of Garnishment.
Property which is exempt and which is not subject to this Order is listed on the attached Debt
Collection Notice.

Pursuant to Title 15 U.S.C. §1674, a Garnishee is prohibited from discharging a defendant
from employment by reason of the fact that his earnings have been subject to gartiishment.

If you fail to answer this Writ or to withhold property in accordance with this Writ, the
United States of America may petition the Court for an Order requiring you to appear before the
Court. If you fail to appear or do appear and fail to show good cause why you failed to comply
with this Writ, the Court may enter a Judgment against you for the value of the debtor's
non-exempt property. It is unlawful to pay or deliver to the defendant any item attached by this
Writ.

Debra P. Hackett
UNITED STATES DISTRICT CLERK

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